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                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


WILLIAM J. SCHOENROCK, being duly sworn, deposes and states:


       1.      I am an Enforcement Officer with United States Customs and Border Protection

(CBP) within the Department of Homeland Security (DHS), formerly a Senior Inspector with

the United States Immigration and Naturalization Service, and have been so employed in

immigration law enforcement for the past twenty-eight years.



       2.      As part of my current duties, I have become involved in an investigation of

suspected violations of Title 8, United States Code, Section 1326 and Title 18 United States

Code, Section 1001.



       3.      I make this affidavit in support of the annexed criminal complaint charging

Marcus Oliver CASCHETTO (hereinafter, “Caschetto”), born 1972, in Canada, an alien, a/k/a

as Marc Oliver CASCHETTO, with attempting to enter the United States after having been

previously deported from the United States, without first applying to Attorney General, or his

successor, the Secretary of the Department of Homeland Security, for permission to re-enter the

United States, in violation of Title 8 United States Code, Section 1326(a), and with making a

false representation to officers of the United States Department of Homeland Security, Customs

and Border Protection, in a matter within their jurisdiction, in violation of Title 18 United States

Code, Section 1001(a)(2).




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       4.      The statements contained in this affidavit are based upon my personal knowledge

and upon information provided to me by other U.S. Customs and Border Protection officers.

Because this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me concerning this investigation.

I have set forth only the facts that I believe are necessary to establish probable cause to believe

that Caschetto did knowingly violate title 8, United States Code, Section 1326(a), and Title 18,

United States Code, Section 1001(a)(2).



       5.      On July 31, 2020, at approximately 6:58 p.m., at the Lewiston Bridge port of

entry in Lewiston, New York, in the Western District of New York, CBP Officer J. Kelsey was

conducting primary inspections when a vehicle bearing Province of Ontario registration entered

his lane for inspection. Caschetto was the sole occupant and presented, as proof of identity, a

recently issued Canadian passport (number XXXXX895) containing the name Marc Oliver

CASCHETTO. Officer Kelsey, as part of normal procedure, entered Caschetto’s name into the

Vehicle Primary Computer and found him to be the subject of an immigration lookout.

Caschetto then stated to Officer Kelsey that he was a lawful permanent resident living in

Florida, that he was visiting Niagara Falls, and that he had left his permanent resident card in

Canada. Officer Kelsey again asked Caschetto where he resides and he admitted that he

currently lives in Toronto, Canada. Officer Kelsey referred Caschetto to secondary for further

inspection.



       6.      CBP Officer E. Trevino commenced the secondary inspection. Officer Trevino

conducted electronic immigration record checks, which revealed that Caschetto was previously

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deported from the United States in July 2019. Service records indicate he was deported as

“Marcus Oliver Caschetto.” Officer Trevino reported that Caschetto stated that he was a U.S.

permanent resident and that he had left his permanent resident card in Canada. Caschetto

further stated that he had lost his job and returned to Canada in July 2019 to look for work.

Officer Trevino asked Caschetto if he had ever been arrested and he replied that he had been

arrested for petty theft.



       7.      Next, Officer M. Ciminelli entered Caschetto’s fingerprints into the Integrated

Automated Fingerprint Identification System (IAFIS) to substantiate any immigration history

he may have in the United States. This query resulted in a positive response revealing that

Caschetto was issued FBI number XXXXXXRB9. The FBI number was linked to numerous

criminal charges including a conviction in 2002 in the state of Florida for Contributing to the

Delinquency of a Minor in violation of § 827.04.1 of Florida’s Criminal Statutes. The FBI

record also revealed an arrest by Immigration and Customs Enforcement agents in Florida on

April 1, 2019 and referenced alien file number AXXX XXX 007.



       8.      Additional electronic database record checks using the alien number revealed that

Caschetto was encountered by Immigration and Customs Enforcement agents on April 1, 2019

at the Florida Department of Corrections probation office in Kissimmee. Agents determined

that Caschetto was removable from United States due to his criminal history and took him into

immigration custody. Immigration records further revealed that Caschetto was ordered

removed from the United States, and stripped of his U.S. permanent resident status, by an



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immigration judge on July 1, 2019. Caschetto was physically deported to Canada on August

29, 2019 through Miami.



       9.      On August 6, 2020, your affiant received Caschetto’s Alien file from the National

Records Center in Lee’s Summit, Missouri where alien files are stored and maintained.

Contained in the alien file was form I-205 (Warrant of Removal/Deportation) and immigration

form I-294 (Warning to Alien Removed or Deported). Form I-205 contained Caschetto’s

photograph, right index fingerprint, and signature, and verified his deportation to Canada on

August 29, 2019. Form I-294 contained and a warning that Caschetto is prohibited from

entering or attempting to enter the United States without permission from the Attorney General

or the Secretary of Homeland Security.



       10.     Record checks failed to find any record that Caschetto had applied for or received

the requisite permission to reenter the United States from the Attorney General or the Secretary

of the Department of Homeland Security.



       WHEREFORE, I respectfully submit the foregoing facts to establish probable cause to

believe that on July 31, 2020 Marcus Oliver CASCHETTO, did attempt to reenter the United

States after having been previously deported and removed from the United States, without first

applying to Attorney General, or his successor, the Secretary for the United States Department

of Homeland Security, for permission to reenter the United States, in violation of Title 8, United

States Code, Section 1326(a), and that he made false representations to United States Customs

and Border Protection Officers, in a matter under their jurisdiction, in violation of Title 18

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AO 442 (Rev. 11/11) Arrest Warrant


                                     United States District Court
                                                          for the
                                                Western District of New York

                               United States of America

                                          v.

                      MARCUS OLIVER CASCHETTO,                                      Case No. 20-mj-
                    a/k/a MARC OLIVER CASCHETTO
                 _________________________________________
                                        Defendant


                                                    ARREST WARRANT

To:      Any authorized law enforcement officer

        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
delay (name of person to be arrested) MARCUS OLIVER CASCHETTO, who is accused of an offense or violation
based on the following document filed with the Court:

 ☐ Indictment           ☐ Superseding Indictment        ☐ Information       ☐ Superseding Information                     ☒ Complaint

 ☐ Probation Violation Petition       ☐ Supervised Release Violation Petition   ☐ Violation Notice           ☐ Order of the Court

This offense is briefly described as follows:

Title 8, United States Code, Section 1326(a)(Re-Entry of a Removed Alien)

Title 18, United States Code, Section 1001(a)(2) (Making a Material False Statement)



Date:
                                                                                       Issuing officer’s signature


City and State: Buffalo, New York                                    HONORABLE JEREMIAH J. McCARTHY
                                                                     UNITED STATES MAGISTRATE JUDGE
                                                                                       Printed name and Title



                                                            Return

           This warrant was received on (date) ______________, and the person was arrested on (date) ______________,
 at (city and state) __________________________________________.

 Date: ______________
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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AO 442 (Rev. 11/11) Arrest Warrant (Page 2)

                     This second page contains personal identifiers provided for law-enforcement use only
                     and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)


 Name of defendant/offender:              Marcus Oliver Cashetto

 Known aliases:                           Marc Oliver Cashetto

 Last known residence:                    25 Great Lakes Drive, Brampton, Ontario, Canada

 Prior addresses to which defendant/offender may still have ties:



 Last known employment:

 Last known telephone numbers:

 Place of birth:                          Canada

 Date of birth:                           5/26/1972

 Social Security number:                  XXX-XX-XXXX

 Height:     5’10”                                                     Weight:       285

 Sex:        Male                                                      Race:         White

 Hair:       Brown                                                     Eyes:         Brown

 Scars, tattoos, other distinguishing marks:



 History of violence, weapons, drug use:



 Known family, friends, and other associates (name, relations, address, phone number):



 FBI number:        434616RB9

 Complete description of auto:

 Investigative agency and address:        Customs and Border Protection

 Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

 Williams Schoenrock (office 716-843-5732) (cell 716-583-2979)

 Date of last contact with pretrial services or probation officer (if applicable):
